                Case 2:06-cr-00441-DAD Document
                             UNITED STATES      378 FiledCOURT
                                             DISTRICT    05/24/11 Page 1 of 1
                              EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA
                                                        )
         v.                                             )    CR NO: 2:06-0441 GEB
                                                        )
VIRGILIO PINEDA

                                APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                     : Ad Prosequendum                             9 Ad Testificandum.
Name of Detainee:            VIRGILIO PINEDA aka Angelo Mascotte

Detained at (custodian):         NORCO
Detainee is:   a.)   : charged in this district by:
                            : Indictment                  9 Information              9 Complaint
                            Charging Detainee With:      21 U.S.C. § 846 and 841(a)(1) - Conspiracy to
Distribute and to Possess with Intent to Distribute Heroin
         or    b.)    9 a witness not otherwise available by ordinary process of the Court
Detainee will: a.)    9 return to the custody of detaining facility upon termination of proceedings
       or      b.)    : be retained in federal custody until final disposition of federal charges, as a sentence is
                        currently being served at the detaining facility
Appearance is necessary forthwith in the Eastern District of California.
                                 Signature: /s/ Jill M. Thomas
                                 Printed Name & Phone No: JILL M. THOMAS (916) 554-2781
                                 Attorney of Record for:    United States of America

                                         WRIT OF HABEAS CORPUS
                          : Ad Prosequendum                           9 Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, forthwith, and any further proceedings to
be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.
May 24, 2011                                                          /s/ Kendall J. Newman
Date                                                                  United States District/Magistrate Judge
Please provide the following, if known:
 AKA(s) (if applicable):         MASCOTTE ANGELO                                       Male :      Female 9
 Booking or CDC #:               AE9371                                                DOB:        11/01/1981
                                  TH
 Facility Address:               5 and Western Ave                                     Race:
                                 Norco CA 91760                                        FBI #:
 Facility Phone:                 951-737-5911
 Currently Incarcerated For: VC2800.2(A); PC 594(A); HS 11379(A); HS
                                 11378
                                               RETURN OF SERVICE

Executed on                by
                                                                            (Signature)




Form Crim-48                                                                                           Revised 11/19/97
